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                                              VITA

                                     Gordon C. Nagayama Hall

PERSONAL DATA                                                                       Winter 2018

     Place of Birth                   Seattle, Washington
     Ethnicity                        Japanese-American

     Office Address                   Department of Psychology
                                      1227 University of Oregon
                                      Eugene, OR 97403-1227
     Office Telephone                 541-346-4969
     FAX                              541-346-4911
     E-mail                           gnhall@uoregon.edu

     Title                            Professor

EDUCATION

     1977    B.S.     University of Washington, Seattle, Washington
                      Major: Psychology

     1979    M.A. Fuller Theological Seminary, Pasadena, California
                  Major: Theology

             1981-          Predoctoral Internship, Department of Psychiatry and Behavioral
     1982                   Sciences, School of Medicine, University of Washington
                      (American Psychological Association fully approved internship), Seattle,
                      Washington

     1982             Ph.D. Graduate School of Psychology, Fuller Theological Seminary
                      (American Psychological Association fully approved), Pasadena,
                      California
                      Major: Clinical Psychology

PROFESSIONAL EXPERIENCE

     Academic

     1982-1983        Postdoctoral    Department of Psychiatry and Behavioral Sciences,
                      Fellow          School of Medicine, University of Washington, Seattle,
                                      Washington

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 1984-1986       Clinical     Department of Psychiatry and Behavioral Sciences,
                 Instructor   School of Medicine, University of Washington, Seattle,
                              Washington

 1986-1988       Clinical     Department of Psychiatry and Behavioral Sciences,
                 Assistant    School of Medicine, University of Washington, Seattle,
                 Professor    Washington

 1988-1991       Assistant    Department of Psychology Kent State University, Kent,
                 Professor    Ohio

 1991-1997       Associate    Department of Psychology, Kent State University, Kent,
                 Professor    Ohio

 1997-       Professor        Department of Psychology, Kent State University, Kent,
 1998                         Ohio

1997-            Research     National Research Center on Asian American Mental
2003             Faculty      Health, University of California, Davis

1998-        Professor        Department of Psychology, The Pennsylvania State
2001                          University, University Park, Pennsylvania

 1998-                        Joint          Crime, Law, and Justice Faculty,
                              Department of
2001                                 Appointment Sociology, The Pennsylvania State
                              University, University Park, Pennsylvania

2001-        Professor        Department of Psychology, University of Oregon, Eugene,
present                       Oregon

2014             Visiting     Kansai University, Osaka, Japan
                 Scholar

Administrative

2003-07.     Director of      Department of Psychology, University of Oregon,
2010-14      Clinical         Eugene, Oregon
             Training

2008-        Associate        Center on Diversity and Community, University of Oregon,
2015         Director of      Eugene, Oregon

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                  Research

    2001-02       Interim        Center on Diversity and Community, University of Oregon,
    2015-17       Director       Eugene, Oregon




    Clinical

    1983-1988     Clinical       Western State Hospital, Fort Steilacoom, Washington
                  Psychologist

    1989-1990     Associate      Kirkhart Psychologists, Cuyahoga Falls, Ohio

    1989-1992     Consultant     Kevin Coleman Mental Health Center, Kent, Ohio

    1989-1994     Consultant     Summit County Courthouse, Psychodiagnostic Clinic,
                                 Akron, Ohio

AWARDS AND HONORS

    1977 Phi Beta Kappa

    1979 Headington Memorial Scholarship, Graduate School of Psychology, Fuller
         Theological Seminary

    1988   Distinguished Psychologist Award, Washington State Psychological Association

    1990 Sigma Xi

    1997 Fellow, American Psychological Association (Division of Clinical Psychology)

    1999 Distinguished Contributions Award, Asian American Psychological Association

    2000 Fellow, American Psychological Association Society for the Psychological Study
         of Ethnic Minority Issues

    2002 MENTOR Award, American Psychological Association Division of Clinical
         Psychology, Section on Ethnic Minorities

    2006   Stanley Sue Award for Distinguished Contributions to Diversity, American
           Psychological Association Division of Clinical Psychology

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     2006   Fellow, Association for Psychological Science (resigned in 2014 to protest
            organization's lack of diversity)

     2011   Distinguished Career Contributions to Research Award, American Psychological
            Association Society for the Psychological Study of Ethnic Minority Issues

     2013   Barbara Ann Perry and Robert L. Weiss Clinical Psychology Training Award,
            Department of Psychology, University of Oregon

     2013 Lifetime Achievement Award, Asian American Psychological Association

     2014   Distinguished Alumnus Award, Graduate School of Psychology, Fuller
            Theological Seminary, Pasadena, California

     2017 Outstanding Faculty Member Leader, Asian Desi Pacific Islander Strategy Group,
          University of Oregon

EDITORIAL RESPONSIBILITIES

                                          Editor

     2005-2009     Cultural Diversity and Ethnic Minority Psychology

                                     Associate Editor

     2004-2009     Journal ofConsulting and Clinical Psychology

     1998-2004     Cultural Diversity and Ethnic Minority Psychology

                                    Consulting Editor

     1987-1988, Journal ofConsulting and Clinical Psychology
     1990-1995,
           2001-04

            1991-1999,    Psychological Assessment
            2013-16

     2009-present Asian American Journal ofPsychology

     2013-present Behavior Therapy


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     2016-19       American Psychologist

     2018-21       Clinical Psychology: Science and Practice

                                     Editorial Board

     2008-2012     Cultural, Racial, and Ethnic Psychology Series, American Psychological
                   Association Books



                                    Ad Hoc Reviewer

     Addiction                                          Journal ofPersonality Assessment
     Aggressive Behavior                                Journal ofResearch in Crime and
     American Journal of                                Delinquency
     Orthopsychiatry                                    Journal ofSex Research
     Anxiety, Stress, and Coping                        Journal ofSocial and Personal
     Archives ofGeneral Psychiatry                      Relationships
     Archives ofScientific Psychology                   Personality and Social Psychology
     The Clinical Psychologist                          Review
     Clinical Psychology: Science and                   Professional Psychology: Research
     Practice                                           and Practice
     Clinical Psychology Review                         Psychiatric Services
     Cognitive Therapy and Research                     Psychiatry Research
     The Counselling Psychology                         Psychological Bulletin
     Quarterly                                          Psychological Science
     Criminal Justice and Behavior                      Psychology, Public Policy, and Law
     Drug and Alcohol Dependence                        Psychology ofMen & Masculinity
     International Perspectives in                      Review ofGeneral Psychology
     Psychology.. Research, Practice,                   Sexual Abuse: A Journal ofResearch
     Consultation                                       and Treatment
     International Review of Victimology                Social Psychiatry and Psychiatric
     Journal ofAbnormal Psychology                      Epidemiology
     Journal ofClinical Child and                       Social Science & Medicine
     Adolescent Psychology                              Transcultural Psychiatry
     Journal ofClinical Psychology                      Trauma, Violence, & Abuse
     Journal ofLatina/o Psychology                      Violence and Victims
     Journal ofPersonality and Social
     Psychology

PROFESSIONAL AFFILIATIONS AND SERVICE


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 American Psychological Association, Divisions 2, 9, 12(Fellow), 35, 44,
 45 (Fellow)
        Division 12 Society for a Science of Clinical Psychology
        Division 12 Section VI on the Clinical Psychology of Ethnic Minorities
        Division 35 Section on Asian American Women

 Asian American Psychological Association (Fellow)

 1994-1997     Treasurer, Asian American Psychological Association Education Fund

               1994-1995      President, American Psychological Association Division 45
               (Society for the Psychological Study of Ethnic Minority Issues)

 1994-95       National Advisory Board, Asian American Psychological Association

               1995        Panel of Experts, American Psychological Association
               Commission on Ethnic Minority Recruitment, Retention, and Training in
               Psychology

               1996          Convention Program Reviewer, American Psychological
               Association Divisions 12, 45

 1997,         Convention Program Reviewer, American Psychological Association
 2004          Division 12

               1997          Program Chair, Clinical Psychology of Ethnic Minorities
              (Section 6), American Psychological Association Division 12

1998-99,       Convention Program Reviewer, American Psychological Association
2003, 2014     Division 45

               1998-00        MENTOR Award Chair, Clinical Psychology of Ethnic
               Minorities (Section 6), American Psychological Association Division 12

 1998-99       Member, American Psychological Association President Richard M.
               Suinn's Kitchen Cabinet

1999-          Scientific Advisory Board, International Association on the Treatment of
2001           Sexual Offenders

2000                  Assistant Program Chair, Association for the Advancement of
               Behavior Therapy


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     1999-00      Awards Committee Chair, Asian American Psychological Association

    2000-01       Judge, American Psychological Association Division of Psychotherapy
                  Diversity Award

    2001                 MENTOR Award Committee, Clinical Psychology of Ethnic
                  Minorities (Section 6), American Psychological Association Division 12

    2005          Fellows Committee Chair, Asian American Psychological Association

    2007, 2009    Fellows Committee, American Psychological Association Division 45
    2012-14

    2009-201 1    President, Asian American Psychological Association

    2010                 Convention Program Reviewer, Association for Behavior and
                  Cognitive Therapies

    2010, 2012,   Planning Committee, American Psychological Association Division 45
    2016, 2018    Research Conference

    2012-13       Editor Search Committee, Asian American Journal ofPsychology

    2013-15       Member, American Psychological Association Task Force on Media
                  Violence

    2013-14       Chair, American Psychological Association Division 45 (Society for the
                  Psychological Study of Culture, Ethnicity, and Race)Research
                  Conference, Eugene, Oregon

    2014-18       American Psychological Association's Commission on Ethnic Minority
                  Recruitment, Retention, and Training in Psychology 11 Task Force, Board
                  of Scientific Affairs Representative

    2016-17       Member, Behavioral Health National Project Advisory Committee for the
                  Office of Minority Health at the U.S. Department of Health and Human
                  Services

    2017-18       Chair, Editor Search Committee, Asian American Journal ofPsychology

BOARD MEMBERSHIPS

    2000-2008     Advisory Committee, Minority Fellowship Program, American

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                      Psychological Association

       2003-2005      Institutional Review Board, Oregon Social Learning Center, Eugene

       2005-present Board of Directors, Oregon Social Learning Center, Eugene

       2011-2018      Vice President, Board of Directors, Oregon Social Learning Center,
                      Eugene

PROFESSIONAL LICENSES

       1983-1988      Licensed Psychologist, Washington State Board of Psychology

       1988-1998      Licensed Psychologist, Ohio State Board of Psychology

       1998-2001      Licensed Psychologist, Pennsylvania State Board of Psychology

PUBLICATIONS

       Peer-Reviewed Articles

Hall, G. C. N.(1980). An integration of science and theology in a Piagetian epistemology.
       Journal ofPsychology and Theology, 8, 293-302.

Hall, G. C. N. & Malony, H. N.(1983). Cultural control in psychotherapy with minority clients.
       Psychotherapy: Theory, Research and Practice, 20, 131-142.

Hall, G. C. N., Maiuro, R. D., Vitaliano, P. P., & Proctor, W. C.(1986). The utility of the MMPI
       with men who have sexually assaulted children. Journal ofConsulting and Clinical
       Psychology, 54, 493-496.

Maiuro, R. D., & Hall, G. C. N. (1986). Anger and hostility in sexually assaultive males. Sexual
      Assault and Coercion, I, 119-124.

Hall, G. C. N., & Proctor, W. C. (1987). Criminological predictors of recidivism in a sexual
       offender population. Journal ofConsulting and Clinical Psychology, 55,11 1-112.

Hall, G. C. N., Proctor, W. C., & Nelson, G. M. (1988). The validity of physiological measures
       of pedophilic sexual arousal in a sexual offender population. Journal ofConsulting and
       Clinical Psychology, 56, 118-122.

Hall, G. C. N. (1988). Criminal behavior as a function of clinical and actuarial variables in a
       sexual offender population. Journal ofConsulting and Clinical Psychology, 56, 773-775.

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Hall, G. C. N. (1989). Self-reported hostility as a function of offense characteristics and
       response style in a sexual offender population. Journal ofConsulting and Clinical
       Psychology, 57, 306-308.

Hall, G. C. N.(1989). WAIS-Rs and MMPIs of men who have sexually assaulted children:
       Evidence of limited utility. Journal ofPersonality Assessment, 53, 404-412.

Hall, G. C. N. (1989). Sexual arousal and arousability in a sexual offender population. Journal
       ofAbnormal Psychology, 98, 145-149.

Vitaliano, P. P., Maiuro, R. D., Russo, J., Katon, W.,& Hall, G.(1990). Coping profiles
       associated with psychiatric, physical health, work. and family problems. Health
       Psychology, 9, 348-376.

Hall, G. C. N. (1990). Prediction of sexual aggression. Clinical Psychology Review, 10, 229-
       245.

Hall, G. C. N., Graham, J. R., & Shepherd, J. B.(1991). Three methods of developing MMPI
       taxonomies of sexual offenders. Journal ofPersonality Assessment, 56, 2-13.

Hall, G. C. N.(1991). Sexual arousal as a function of physiological and cognitive variables in a
       sexual offender population. Archives ofSexual Behavior, 20, 359-369.

Hall, G. C. N., & Hirschman, R.(1991). Toward a theory of sexual aggression: A quadripartite
       model. Journal ofConsulting and Clinical Psychology, 59, 662-669.

Martin, J. K., & Hall, G. C. N.(1992). Thinking Black, thinking internal, thinking feminist.
       Journal ofCounseling Psychology, 39, 509-514.

Hall, G. C. N., Shepherd, J. B., & Mudrak, P.(1992). MMPI taxonomies of child sexual and
       nonsexual offenders: A cross-validation and extension. Journal ofPersonality
       Assessment, 58, 127-137.

Hall, G. C. N., & Hirschman, R. (1992). Sexual aggression against children: A conceptual
       perspective of etiology. Criminal Justice and Behavior, 19, 8-23.

Hall, G. C. N., Shondrick, D. D., & Hirschman, R.(1993). Conceptually-derived treatments for
       sexual aggressors. Professional Psychology: Research and Practice, 24, 62-69.

Oliver, L. L., Hall, G. C. N., & Neuhaus, S.(1993). Personality characteristics of adolescent sex
        offenders. Criminal Justice and Behavior, 20, 359-370.


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Hall, G. C. N., Shondrick, D. D., & Hirschman, R.(1993). The role of sexual arousal in sexually
       aggressive behavior: A meta-analysis. Journal ofConsulting and Clinical Psychology,
       61, 1091-1095.

Hall, G. C. N., Hirschman, R., & Oliver, L. L.(1994). Ignoring a woman's dislike of sexual
       material: Sexually impositional behavior in the laboratory. Journal ofSex Research, 31,
       3-10.

Hall, G. C. N., & Hirschman, R.(1994). The relationship between men's sexual aggression inside
       and outside the laboratory. Journal ofConsulting and Clinical Psychology, 62, 375-380.

Barongan, C., & Hall, G. C. N.(1995). The influence of misogynous rap music on men's
      aggression against women. Psychology of Women Quarterly, 19, 195-207.

Marshall, W. L., & Hall, G. C. N.(1995). The value of the MMPI in deciding forensic issues in
       accused sexual offenders. Sexual Abuse: A Journal ofResearch and Treatment, 3, 205-
       219.

Hall, G. C. N.(1995). Sexual offender recidivism revisited: A meta-analysis of recent treatment
       studies. Journal ofConsulting and Clinical Psychology, 63, 802-809.

Hall, G. C. N.(1995). The preliminary development oftheory-based community treatment for
       sexual offenders. Professional Psychology: Research and Practice, 26, 478-483.

Hall, G. C. N., Hirschman, R., & Oliver, L. L.(1995). Sexual arousal and arousability to
       pedophilic stimuli in a community sample of"normal" men. Behavior Therapy, 26, 681-
       694.

Hall, G. C. N., & Barongan, C. (1997). Prevention of sexual aggression: Sociocultural risk and
       protective factors. American Psychologist, 52, 5-14.

Hall, G. C. N., Windover, A. K., & Maramba, G. G.(1998). Sexual aggression among Asian
       Americans: Risk and protective factors. Cultural Diversity and Mental Health, 4, 305-
       318.

Hall, G. C. N., Bansal, A., & Lopez, I. R.(1999). Ethnicity and psychopathology: A meta-
       analytic review of 31 years of comparative MMPI/MMPI-2 research. Psychological
       Assessment, 11, 186-197.

Mitchell, D., Hirschman, R., & Hall, G. C. N.(1999). Attributions of victim responsibility,
       pleasure, and trauma in male rape. Journal ofSex Research, 36, 369-373.



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Hall, G. C. N., Sue, S., Narang, D. S., & Lilly, R. S.(2000). Culture-specific models of men's
       sexual aggression: Intra- and interpersonal determinants. Cultural Diversity and Ethnic
       Minority Psychology, 6, 252-267.

Hall, G. C. N., & Maramba, G. G. (2001). In search of cultural diversity: Recent literature in
       cross-cultural and ethnic minority psychology. Cultural Diversity and Ethnic Minority
       Psychology, 7, 12-26.

Hall, G. C. N. (2001). Psychotherapy research with ethnic minorities: Empirical, ethical, and
       conceptual issues. Journal ofConsulting and Clinical Psychology, 69, 502-510.

Maramba, G. G., & Hall, G. C. N.(2002). Meta-analysis of ethnic match as a predictor of drop-
      out, utilization, and outcome. Cultural Diversity and Ethnic Minority Psychology, 8, 290-
      297.

Mitchell, D., Angelone, D. J., Hirschman, R., Lilly, R. S., & Hall, G. C. N.(2002). Peer
       modeling and college men's sexually impositional behavior in the laboratory. Journal of
       Sex Research, 39, 326-333.

Hall, G. C. N.(2003). The self in context: Implications for psychopathology and psychotherapy.
       Journal ofPsychotherapy Integration, 13, 66-82.

Menard, K. S., Hall, G. C. N., Phung, A. H., Ghebrial, M. F. E., & Martin, L.(2003). Gender
      differences in sexual harassment and coercion in college students: Developmental,
      individual, and situational determinants. Journal ofInterpersonal Violence, 18, 1222-
      1239.

Teten, A. L., Hall, G. C. N., & Pacifici, C.(2005). Validation of acceptance of coercive sexual
       behavior(ACSB): A multimedia measure of adolescent dating attitudes. Assessment, 12,
       162-173.

Hall, G. C. N., Teten, A. L., DeGanno, D. S., Sue, S., & Stephens, K. A.(2005). Ethnicity,
       culture, and sexual aggression: Risk and protective factors. Journal ofConsulting and
       Clinical Psychology, 73, 830-840.

Hall, G. C. N., DeGarmo, D. S., Eap, S., Teten, A. L., & Sue, S.(2006). Initiation, desistance,
       and persistence of men's sexual coercion. Journal ofConsulting and Clinical Psychology,
       74, 732-742.

Hall, G. C. N.(2006). Diversity in clinical psychology. Clinical Psychology.. Science and
       Practice, 13, 258-262.



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Goldston, D., Molock, S., Whitbeck, L., Murakami, J., Zayas, L., & Hall, G. C. N.(2008).
       Cultural considerations in adolescent suicide prevention and psychosocial treatment.
       American Psychologist, 63, 14-31.

Eap, S., DeGarmo, D. S., Kawakami, A., Hara, S. N., Hall, G. C. N., & Teten, A. L.(2008).
        Culture and personality among European American and Asian American men. Journal of
        Cross-Cultural Psychology, 39, 640-643.

Sue, S., Zane, N., Hall, G. C. N., & Berger, L. K.(2009). The case for cultural competency in
        psychotherapeutic interventions. Annual Review ofPsychology, 60, 525-548.

Hall, G. C. N., & Allard, C. B.(2009). Application to graduate psychology programs by
       undergraduate students of color: The impact of a research training program. Cultural
       Diversity and Ethnic Minority Psychology, 15, 223-229.

Teten, A. L., Hall, G. C. N., & Capaldi, D. M.(2009). Use of coercive sexual tactics across 10
       years in at-risk young men: Developmental patterns and co-occurring problematic dating
       behaviors. Archives ofSexual Behavior, 38, 574-582.

Hall, G. C. N., Martinez, C. R., Tuan, M., McMahon, T. R., & Chain, J. (2011). Toward
       ethnocultural diversification of higher education. Cultural Diversity and Ethnic Minority
       Psychology, 17, 243-251.

Hall, G. C. N., Hong, J. J., Zane, N. W.,& Meyer, O. L.(2011). Culturally-competent treatments
       for Asian Americans: The relevance of mindfulness and acceptance-based therapies.
       Clinical Psychology: Science and Practice, 18, 215-231.

Parrott, D. J., Tharp, A. L., Swartout, K. M., Miller, C.A., Hall, G. N., & George, W.H.(2012).
        Validity for an integrated laboratory analogue of sexual aggression and bystander
        intervention. Aggressive Behavior, 38, 309-321.

Hall, G. C. N., & Yee, A. H.(2012). U.S. mental health policy: Addressing the neglect of Asian
       Americans. Asian American Journal ofPsychology, 3, 181-193.

Foynes, M. M., Platt, M., Hall, G. C. N., & Freyd, J. J.(2014). The impact of Asian Values and
      victim-perpetrator closeness on the disclosure of emotional, physical, and sexual abuse.
      Psychological Trauma: Theory, Research, Practice, and Policy, 6, 134-141.

Ibaraki, A. Y., Hall, G. C. N., & Sabin, J. A.(2014). Asian American cancer disparities: The
        potential effects of model minority health stereotypes. Asian American Journal of
       Psychology, 5, 75-81.



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Davis, K. C., Parrott, D. J., George, W H., Tharp, A. T., Hall, G. C. N., & Stappenbeck, C. A.
       (2014). Studying sexual aggression: A review of the evolution and validity of laboratory
       paradigms. Psychology of Violence, 4, 462-476.

Ibaraki, A. Y., & Hall, G. C. N.(2014). The components of cultural match in psychotherapy.
       Journal ofSocial and Clinical Psychology, 33, 936-953.

Hall, G. C. N., Yip, T., & Zarate, M. A.(2016). On becoming multicultural in a monocultural
       research world: A conceptual approach to studying ethnocultural diversity. American
       Psychologist, 71, 40-51.

Braje, S. E., Eddy, J. M., & Hall, G. C. N.(2016). A comparison oftwo models of risky sexual
        behavior during late adolescence. Archives ofSexual Behavior, 45, 73-83.

Braje, S. E., & Hall, G. C. N.(2016). Coping as a mediator between losing face and internalizing
        symptoms among Asian Americans. Journal ofCross-Cultural Psychology,47, 1114-
        1129.

Ha11, G. C. N., Ibaraki, A. Y., Huang, E. R., Marti, C. N., & Stice, E.(2016). A meta-analysis of
       cultural adaptations of psychological interventions. Behavior Therapy, 47, 993-1014.

Calvert, S. L., Appelbaum, M. I., Dodge, K. A., Graham, S., Hall, G. C. N., Hamby, S. L., Fasig-
       Caldwell, L., Citkowitz, M., Galloway, D. P., & Hedges, L.V.(2017). The American
       Psychological Association Task Force Assessment of violent video games: Science in the
       service of public interest. American Psychologist, 72, 126-143.

Kelly, N. R., Smith, T. M., Hall, G. C. N., Guidinger, C., Williamson, G., Budd, E. L., &
        Giuliani, N. R.(2017). Perceptions of general and post-presidential election
        discrimination are associated with loss of control eating among racially/ethnically diverse
        young men. International Journal ofEating Disorders. Advance online publication



Huang, E. R., Jones, K. D., Bennett, R. M., Hall, G., & Lyons, K. S.(in press). The role of
      spousal relationships in fibromyalgia patients' quality of life. Psychology, Health, &
      Medicine.

Hall, G. C. N., Kim-Mozeleski, J., E., Zane, N. W., Sato, H., Huang, E. R., Tuan, M., & Ibaraki,
       A. Y. (in press). Cultural adaptations of psychotherapy: Therapists' applications of
       conceptual models with Asians and Asian Americans. Asian American Journal of
       Psychology.

                                            Comments

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Hall, G. C. N. (1990). Validity of physiological measures of pedophilic sexual arousal in a
       sexual offender population: Reply to Quinsey and Laws. Journal ofConsulting and
       Clinical Psychology, 58, 889-891.

Hall, G. C. N., & Crowther, J. H.(1991). Psychologists' involvement in cases of child
       maltreatment: Additional limits of assessment methods. American Psychologist, 46, 79-
       80.

Barongan, C., Bernal, G., Comas-Diaz, L., Hall, C. C. I., Hall, G. C. N., LaDue, R. A., Parham,
      T. A., Pedersen, P. B., Porche-Burke, L. M., Rollock, D., & Root, M.P. P.(1997).
      Misunderstandings of multiculturalism: Shouting fire in crowded theaters. American
      Psychologist, 52, 654-655.

Ha11, G. C. N.(2006). Accessibility and attitudes: Comment on Lau (2006). Clinical Psychology:
       Science and Practice, 13, 317-320.

Hall, G. C. N.(2011). Implications, themes, and next steps. Journal ofCollege Counseling, 14,
       173-178.

Hall, G. C. N.(2016). Cognitive behavior therapy and cultural context: Commentary. Japanese
       Journal ofBehavior Therapy, 42, 35-38.

Hall, G. C. N., Yip, T., & Zarate, M. A.(2016). Disciplinary perspectives on multicultural
       research: Reply to Dvorakova(2016) and Yakushko et al.(2016). American Psychologist,
        71, 892-893


Zarate, M. A., Hall, G. N., & Plaut, V. C.(2017). Researchers of color, fame, and impact.
       Perspectives on Psychological Science, 12, 1176-1178.

Huang, E. R., Jones, K. D., Bennett, R. M., Hall, G. C. N., & Lyons, K. S.(in press). The role of
      spousal relationships in fibromyalgia patients' quality of life. Psychology, Health, and
      Medicine.


                                      Encyclopedia Entries

Hall, G. C. N. (2000). Fetishism. In A. E. Kazdin (Ed.), Encyclopedia ofpsychology, 5_364-
       365. Washington, DC: American Psychological Association and Oxford University
       Press.



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Hall, G. C. N. (2000). Pedophilia. In A. E. Kazdin (Ed.), Encyclopedia ofpsychology, 6, 82-83.
       Washington, DC: American Psychological Association and Oxford University Press.

Hall, G. C. N. (2000). Sexual masochism. In A. E. Kazdin (Ed.), Encyclopedia ofpsychology, 7,
       259-260. Washington, DC: American Psychological Association and Oxford University
       Press.

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Hall, G. C. N., & Proctor, W. C.(1986). Criminological predictors ofrecidivism in a sexual
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Maiuro, R. D., Vitaliano, P. P., Cahn, T. S., Hall, G. C. N., & Donovan, D. M.(1987). Anger and
      hostility in alcohol abusing versus non-alcohol abusing domestically violent men. Paper
      presented at the Third National Family Violence Research Conference, Durham, New
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Hall, G. C. N., Proctor, W. C., & Nelson, G. M.(1987). The validity ofphysiological measures of
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       psychology. In M. O'Sullivan (Chair), Psychologist and religious minister: One person,
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Hall, G. C. N. (1990, August). Be all that you can be. In A. M. Neal & B. A. Allgood-Hill
       (Chairs), The pursuit ofexcellence: Ethnic minorities and the academic career.
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Hall, G. C. N., & Hirschman, R. (1990, August). A quadripartite theory of sexual aggression. In
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Hall, G. C. N.(1992, August). What's a nice Eurasian boy like me doing in a place like this? In
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       Association, Washington, D.C.

Hall, G. C. N., Hirschman, R., & Oliver, L. L.(1992, August). Direct measurement of sexually
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       arousal in a community sample of"normal" men. Paper presented at the Association for
       the Treatment of Sexual Abusers Research and Treatment Conference, Boston.

Hall, G. N.(1995, August). Prevention ofsexual aggression: Lessonsfrom ethnic minority
       communities. Division 45 Presidential Address at the 103rd Annual Convention of the
       American Psychological Association, New York.

Hall, G. C. N.(1997, August). Intra and interethnic sexual aggression: Perpetrator and victim
       perspectives. Paper presented at the 105th Annual Convention of the American
       Psychological Association, Chicago.

Windover, A. K., Hall, G. C. N., & Narang, D. S.(1998, August). Men's sexual imposition
      against women: Effects ofanger and recipient dislike. Poster presented at the 106th
      Annual Convention of the American Psychological Association, San Francisco.

Hall, G. C. N., & Sue, S.(1998, August). Sexual aggression among Asian and European
       Americans.. Determinants and prevention. Paper presented at the 106th Annual
       Convention of the American Psychological Association, San Francisco.

Hall, G. C. N.(1999, April). The selfin context.. Implicationsfor psychopathology and
       psychotherapy. Paper presented at the meeting of the Society for the Exploration of
       Psychotherapy Integration, Miami Beach.

Hall, G. C. N.(1999, August). Asian American violence: An oxymoron? Invited keynote address
       presented at the Annual Convention of the Asian American Psychological Association,
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Hall, G. C. N.(1999, August). Sexual aggression.. Risk and protective aspects ofloss offace.
       Paper presented at the 107th Annual Convention ofthe American Psychological
       Association, Boston.

Hall, G. C. N.(1999, August). A bug's life: How to keepfrom being squashed in academia.
       Paper presented at the 107th Annual Convention ofthe American Psychological
       Association, Boston.

Hall, G. C. N.(1999, August). Meta-analytic review of31 years ofcomparative MMPI/MMPI-2
       research. Paper presented at the 107th Annual Convention of the American Psychological
       Association, Boston.

Hall, G. C. N.(2000, May). Sex offender treatment: Current andfuture directions. Invited
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Hall, G. C. N.(2000, August). Culture-specific ecological models ofAsian American violence.
       Paper presented at the Annual Convention ofthe Asian American Psychological
       Association, Washington, DC.

Hall, G. C. N.(2000, August). Academic acculturation: Ethnicity, gender, and class issues.
       Paper presented at the 108th Annual Convention of the American Psychological
       Association, Washington, DC.

Hall, G. C. N.(2000, November). Empirically supported treatments and culturally diverse
       populations. Paper presented at the 34th Annual Convention of the Association for the
       Advancement of Behavior Therapy, New Orleans.

Anastasiou, A., Barongan, C., & Hall, G. C. N. (2001, October). How to survive teaching
       courses on race and culture. Paper presented at the Boston College Institute for the Study
       and Promotion of Race and Culture, Chestnut Hill, Massachusetts.

Hall, G. C. N. (2001, December). Cultural context ofinterpersonal violence: Intervention and
       prevention. Paper presented at the 17th Annual Meeting ofthe International Society for
       Traumatic Stress Studies, New Orleans.

Martinez, C. R., Urbina, C. X., Eddy, J. M., DeGarmo, D., S., Alonso, J., L., & Hall, G. C.
      (2002, May). Models and methodsfor community and research institution collaboration
       in prevention science. Symposium presented at the 10th Annual Meeting of the Society
       for Research Prevention, Seattle.

Hall, G. C. N., Teten, A. L., & Sue, S.(2002, June). The cultural context ofsexual coercion.
       Paper presented at the conference of the New York Academy of Sciences, Washington,
       DC.
Lindgren, K.P., George, W.H., Stephens, K.A., Hall, G.N., & Sue, S.(2004, January).
      Sex-related alcohol expectancies and sexual and drinking behaviors in European-
       American and Asian-American college men. Poster presented at the 5th Annual
       Meeting of the Society for Personality and Social Psychology Conference, Austin,
       TX.

Hall, G. C. N.(2004, November). Treating outside the box: The top ten listfor treating
       comorbid addictive behaviors in Asian Americans. Paper presented at the 38th
       Annual Convention of the Association for the Advancement of Behavior Therapy,
       New Orleans.

Eap, S., Kawakami, A., Hara, S. N., Hall, G. C. N., & Teten, A. L.(2005, April).
       Cultural influences on personality. Paper presented at the 85th Annual Convention
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       student editor program. Paper presented at the 113th Annual Convention of the
       American Psychological Association, Washington, DC.

Goldston, D., Hall, G. N., Hovey, J., Joe, S., Murakami, J. L., & Whitbeck, L. B.(2006,
       April). Suicide risk in Asian American & Pacific Islander youth. In D. Goldston
      (Chair), Culture and youth suicide intervention. Symposium presented at the 39th
       annual meeting of the American Association of Suicidology, Seattle, WA.

Zane, N. W. S., Sue, S., Hall, G. C. N., & Leong, F. T. L.(2006, August). Generating a
       movement within a movement: EBPs and cultural competence. Symposium
       presented at the Convention of the Asian American Psychological Association,
       New Orleans.
Hall, G. C. N.(2006, August). Creating a diverse pipeline: Research trainingfor ethnic minority
       undergraduates. Paper presented at the 114th Annual Convention of the American
       Psychological Association, New Orleans.

Hall, G. C. N.(2007, July). Cultural contexts ofpsychotherapy: A good therapy is like a good
       Japanese restaurant. Invited address presented at the 5th World Congress of Behavioural
       and Cognitive Therapies, Barcelona, Spain.

Hall, G. C. N.(2007, August). Clinical effectiveness treatment program. Paper presented at the
       Convention of the Asian American Psychological Association, San Francisco.

Hall, G. C. N.(2007, August). Moderators ofethnic matching in psychotherapy with Asian
       Americans. Paper presented at the 115th Annual Convention ofthe American
       Psychological Association, San Francisco.

Foynes, M. M., Murakami, J. L., & Hall, G. C. N.(2007, August). Trauma, ethnicity, and
      psychopathology. Poster presented at the 115th Annual Convention of the American
      Psychological Association, San Francisco.

Murakami, J. L., Foynes, M. M., & Hall, G. C. N.(2007, August). Reasonsfor living in Asian
      Americans and European Americans. Poster presented at the 115th Annual Convention of
      the American Psychological Association, San Francisco.

Hall, G. C. N.(2008, August). Promising directions in the study ofculture and genetics. Paper
       presented at the Convention ofthe Asian American Psychological Association, Boston.

Hall, G. C. N.(2008, August). Evidence-based practices: Translating the researchfor ethnic
       minority communities. Paper presented at the 116th Annual Convention of the American
       Psychological Association, Boston.


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Murakami, J. & Hall, G. C. N.(2009, August). Culturally sensitive counselingfor suicidal East
      Asian Americanfemales. Poster presented at the 117th Annual Convention of the
      American Psychological Association, Toronto.

Hall, G. C. N., LaFromboise, T. D., Leong, T. L., Zarate, M. A., & Buchanan, N.(2010, June).
       Should researchers be required to study diverse samples? Conceptual approaches to
       ethnocultural diversity. Panel discussion at the 1st Division 45 Conference, Ann Arbor,
       Michigan.

Hong, J. J., Hall, G. C. N., Zane, N. W., Chu, J. P., & Kim, J.(2010, November). Incorporating
       culturalfactors into empirically supported treatments: Research and clinical
       considerations. Panel discussion at the 44th Annual Convention of the Association for
       Behavior and Cognitive Therapies, San Francisco.

Hall, G. C. N. & Yee, A.(2011, April). Trickle-down mental health policy: Addressing the
       neglect ofAsian Americans. Invited paper presented at AAPI State of the Science: Mental
       Health and Treatment Issues for Asian Americans and Pacific Islanders Conference, Los
       Angeles.

Hall, G. C. N.(2012, August). Broadening the appeal ofAsian American psychology. Paper
       presented at the Convention of the Asian American Psychological Association, Orlando.

Hall, G. C. N.(2013, January). Racial/ethnic minority health disparities research and grant
       funding. Invited presentation at the 8th National Multicultural Conference and Summit,
        Houston.

Hall, G. C. N.(2013, August). Broadening the impact ofcognitive-behavioral therapy: CBT
       across cultural contexts. Invited lecture at the 4th Asian Cognitive-Behavioral Therapy
       Conference, Tokyo.

Hall, G. C. N.(2014, April). Asian American psychology: Mental and physical health. Invited
       address at the 94th Western Psychological Association Convention, Portland, Oregon.

Chain, J., Fong, M., Sun, X., & Hall, G. C. N.(2014, June). Interventions to reduce depression
       among Chinese international students. Paper presented at the 3rd Biennial American
       Psychological Association Division 45 Conference, Eugene, Oregon.

Hall, G. C. N.(2014, July). Toward a psychology ofthefuture.• Preparingfor cultural climate
       change. Invited paper presented at the 28th International Congress of Applied
       Psychology, Paris.




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Hall, G. C. N., Chain, J., Caban, A., & Sun, X.(2014, August). Discrimination, social
       connectedness, and mental health: Chinese international students. Paper presented at the
       122nd Convention of the American Psychological Association, Washington, DC.

Alegria, M., Bernal, G., Hall, G. C. N., & Mays, V. M.(2015, May). In J. Gone (Chair),
       Mapping the intersection ofdiversity and psychological clinical science: A panel
       discussion withfour clinical scientists. Invited panel discussion at the 28th Convention of
       the Association for Psychological Science, New York.

Hall, G. C. N.(2015, August). Multiculturally competent psychotherapy: Progress, resistance,
       and unfinished business. In D. Chang and S. Sue (Chairs), How has the multicultural
       competence movement made a difference? Where should we gofrom here? Invited
       collaborative session presented at the 123rd Convention of the American Psychological
       Association, Toronto.

Hall, G. C. N., Chain, J., Sun, X., DeGarmo, D., & Fong, M.(2016, July). Discrimination, social
       connectedness, and mental health among Chinese international students. Paper presented
       at the 4th Biennial Division 45 Research Conference, Stanford, California.

Hall, G. C., lbaraki, A. Y., Huang, E. R., Marti, C. N., & Stice, E.(2016, July). A meta-analysis
       ofcultural adaptations ofpsychological interventions. Poster presented at the 31st
       International Congress of Psychology, Yokohama, Japan.

Hall, G. C. N.(2016, August). Thefuture ofAsian Pacific American psychology. Paper presented
       at the Convention of the Asian American Psychological Association, Denver.

Hall, G. C. N.(2016, August). Do evidence-based psychotherapies perpetuate mental health
       disparities? In L. Comas-Diaz (Chair), Advancing socialjustice in clinical practice.
       Collaborative symposium presented at the 124th Convention of the American
       Psychological Association, Denver.

Hall, G. C. N., Casement, M. D., & Huang, E. R.(2017, August). Alternatives to conventional
       mental health services: Sleep interventions for Asian Americans. In N. W. Zane (Chair),
       Innovative interventions that mitigate stigma, shame andface loss issues among Asian
       Americans. Paper presented at the 125th Convention of the American Psychological
       Association, Washington, DC.

Hall, G. C. N.(2017, October). Visibility and invisibility HT Navigating minefields and paving
       your path to tenure. Paper presented at the Convention of the Asian American
       Psychological Association, Las Vegas.




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Hall, G. C. N.(2017, October). Effective strategiesfor mitigating stigma, shame, andface loss in
       psychological interventionsfor Asian Americans. Paper presented at the Convention of
       the Asian American Psychological Association, Las Vegas.

Hall, G. C. N., Kim-Mozeleski, J., E., Zane, N. W., Sato, H., Huang, E. R., Tuan, M., & lbaraki,
       A. Y. (2018, May). Cultural adaptations of psychotherapy: Therapists' applications of
       conceptual models with Asians and Asian Americans. Paper presented at the Convention
       of the Society for Prevention Research, Washington, DC.

GRANTS

                                          Grants Held

                      1991-94       Principal Investigator, "Sexual Aggression Against
                      Children: A Quadripartite Model," National Institute of Mental Health,
                      $222,809

       2000                  "Asian American Psychology: Scientific Innovations for the 21st
                      Century," grant for think tank conference, American Psychological
                      Association Commission on Ethnic Minority Recruitment, Retention, and
                      Training, $2,500

       2000-03        Principal Investigator, "Culture-Specific Models of Men's Sexual
                      Aggression," National Institute of Mental Health, $969,290

       2001-06        Principal Investigator,"Monocultural vs. Multicultural Academic
                      Acculturation," National Institute of Mental Health, $718,999

       2007-13       Co-Investigator, "Clinical Effectiveness Research Program", Asian
                     American Center for Disparities Research, Nolan Zane, Principal
                     Investigator, National Institute of Mental Health, $4,297,369

       2012-16        Principal Investigator, "Stereotypes and Mental Health Among
                      International Students", Innovations in Diversity and Academic
                      Excellence Program, University of Oregon, $16,000

                                       Grant Reviewing

                     1995-96       Temporary Reviewer, Small Business Innovation Research
                     Program, National Institute of Mental Health

                     1997-99       Member, Violence and Traumatic Stress Review
                     Committee, National Institute of Mental Health

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                    1999-00       Member, Risk Prevention and Health Behavior Review
                    Committee-1, Center for Scientific Review, National Institutes of Health

                    2000           Temporary Reviewer, Biobehavioral and Behavior
                    Processes-5, Center for Scientific Review, National Institutes of Health

      2004-05       Reviewer, National Registry of Effective Programs and Practices,
                    Substance Abuse and Mental Health Services Administration

              2005, 2007    Reviewer, National Institutes of Health Loan Repayment Program

      2005          Temporary Reviewer, Social Psychology, Personality and Interpersonal
                    Processes Review Committee, Center for Scientific Review, National
                    Institutes of Health

      2009,                Member, National Center for Injury Prevention Special Emphasis
                    Panel,
      2012-13       Centers for Disease Control and Prevention

      2014-15       Member, Special Emphasis Panel, Academic Research Enhancement
                    Award, National Institutes of Health

      2016                 Temporary Reviewer, Adult Psychopathology and Disorders of
                    Aging Study Section, National Institutes of Health

RESEARCH INTERESTS

      Cultural Contexts of Psychopathology and Psychotherapy
      Asian American Psychology
      Health Disparities

TEACHING INTERESTS

      Psychology of Cultural Diversity
      Culture and Mental Health
      Multicultural Psychology
      Asian American Psychology

REFERENCES

Frederick T. L. Leong
Department of Psychology

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